      Case 4:22-cr-00055 Document 1 Filed on 02/03/22 in TXSD Page 1 of States
                                                                 United 15 Courts
                                                                                  Southern District of Texas
                                                                                           FILED
                                                                                     February 03, 2022
                              UNITED STATES DISTRICT COURT                      Nathan Ochsner, Clerk of Court
                               SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

UNITED STATES OF AMERICA                          §
                                                  §
       v.                                         §           Criminal No.      4:22-cr-55
                                                  §
MATTHEW CLARK,                                    §
                                                  §
                                                  §
                 Defendant.                       §

                                          INDICTMENT

       The Grand Jury charges that:

                                  GENERAL ALLEGATIONS

       At all times material to this Indictment, unless otherwise specified:

                                  Relevant Market Background

       1.        Natural gas was an energy commodity that was traded by buyers and sellers through

different types of commercial transactions, including at physical delivery locations throughout the

United States.

       2.        One way to trade natural gas was to buy or sell a “futures contract.” A futures

contract was an agreement that obligated the contracting parties to buy or sell a product or financial

instrument at a fixed quantity and price for delivery at a specific date and time in the future.

       3.        Futures contracts were traded on “exchanges,” which were designated commodities

markets regulated by the United States Commodity Futures Trading Commission (“CFTC”).

These exchanges included, among others, the New York Mercantile Exchange, Inc. (“NYMEX”),

ICE Futures U.S., Inc. (“ICE”), and the Chicago Mercantile Exchange (“CME”). NYMEX, CME,

and ICE (together, the “Exchanges”) each listed different products for trading, including natural

gas futures contracts, and issued and enforced rules for trading on their respective exchanges.
      Case 4:22-cr-00055 Document 1 Filed on 02/03/22 in TXSD Page 2 of 15




       4.      “Henry Hub”—a natural gas delivery location (or “hub”) near Louisiana’s Gulf

Coast that connected several intrastate and interstate pipelines—was used as a standard pricing

reference for natural gas futures contracts on the Exchanges.

       5.      The Exchanges offered the opportunity to trade in natural gas futures contracts that

were based upon the price of natural gas at the Henry Hub delivery point during specified time

periods. This included both natural gas futures contracts that were settled with the physical

commodity (“NG”) and Henry Hub Natural Gas Last Day Financial Futures Contracts, which were

settled financially (“HH”).

       6.      Futures contracts could be traded on the Exchanges either through an open outcry

system on a trading floor or “pit,” or through electronic platforms operated by the Exchanges. The

Exchanges operated their electronic trading platforms through computer servers located in Illinois.

In addition, traders could execute futures trades on the Exchanges either directly or through

registered brokers who served as intermediaries to match willing buyers and sellers.

       7.      A “block trade” was a type of privately negotiated futures transaction that was

executed apart and away from the open outcry or electronic markets. Block trades were required

to be executed at prices that were fair and reasonable, and had to be submitted to the Exchanges

after execution for price reporting and clearing purposes.

       8.      It was unlawful for commodity traders to enter into fictitious sales and transactions

that caused any price to be reported, registered, and recorded that was not a true and bona fide

price, including noncompetitive, prearranged trades that negated market risk and price

competition.




                                                 2
      Case 4:22-cr-00055 Document 1 Filed on 02/03/22 in TXSD Page 3 of 15




                        The Defendant and Other Relevant Individuals
       9.      MATTHEW CLARK, a resident of The Woodlands, Texas, was employed in

various positions at Company B, including as a natural gas trader, Director of East Trading, and

President. As an employee of Company B, pursuant to his employment agreements, company

policies and procedures, rules of the Exchanges, and CFTC regulations, CLARK owed Company

B a fiduciary duty, a duty of loyalty, and duty of confidentiality.

       10.     Mathew Webb (“Webb”), a resident of Houston, Texas, was the owner, president,

and a registered “associated person” of Classic Energy, LLC (“Classic Energy”). In this role,

Webb worked as a broker for trades placed on behalf of Classic Energy’s customers. In addition,

Webb established MDW Consulting LLC (“MDW”), which he used to execute trades.

       11.     John Ed James (“James”), a resident of Katy, Texas, was a natural gas trader and

the owner and sole principal of Percheron Capital, LLC (“Percheron”).

       12.     Peter Miller (“Miller”), a resident of Puerto Rico, was a natural gas trader and

owner of Omerta Capital, LLC (“Omerta”).

       13.     Lee Tippett (“Tippett”), a resident of Houston, Texas, nominally was employed as

a natural gas trader and received payments from MDW and Classic Energy between in or around

2013 and in or around 2019.

       14.     “Person 1,” a resident of Conroe, Texas, was a natural gas trader employed at

Company B between in or around 2014 and continuing through at least 2020.

       15.     “Relative 1,” a resident of Houston, Texas, was a relative of CLARK.

       16.     “Relative 2,” a resident of Davenport, Florida, was a relative of CLARK.

       17.     “Relative 3,” a resident of Houston, Texas, was a relative of CLARK.




                                                  3
      Case 4:22-cr-00055 Document 1 Filed on 02/03/22 in TXSD Page 4 of 15




                                       Relevant Entities

       18.     Classic Energy was a registered brokerage firm in Houston, Texas, operated by

Webb, that provided brokerage services in various energy markets in exchange for commission

fees, including the facilitation of block trades in natural gas futures contracts between Classic

Energy’s customers and others in the market. During the relevant period, Classic Energy brokered

trades for Company B, Percheron, MDW, and Omerta, among others.

       19.     Percheron was a trading company incorporated in Texas and based in Houston,

Texas. James established Percheron and used it to trade commodity futures. James, through

Percheron, placed orders that were brokered by Classic Energy between in or around 2013 and in

or around 2014.

       20.     MDW was a trading company incorporated in Texas and based in Houston, Texas.

Webb established MDW and used it to trade commodity futures. MDW operated from the same

physical address as Classic Energy.

       21.     Omerta was a trading company incorporated in Delaware and based in Puerto Rico.

Miller established Omerta and used the company to trade commodity futures. Miller, through

Omerta, placed orders that were brokered by Classic Energy between in or around 2015 and in or

around 2019.

       22.     “Company B,” was an energy company located in Houston, Texas, that engaged in,

among other business, the trading of natural gas products in the United States. Company B was a

customer of Classic Energy between in or around 2010 and in or around 2019.

       23.     Green Mountain Energy Services (“GME”) was the name of a fictitious entity used

by CLARK and Relative 1, Relative 2, and Relative 3 to move money as part of the offenses




                                               4
      Case 4:22-cr-00055 Document 1 Filed on 02/03/22 in TXSD Page 5 of 15




charged in this Indictment. Relative 1 had a bank account in the name of GME at Bank 1. Relative

2 had bank account x0475 in the name of GME at Bank 2.

       24.     “Bank 1” was a federally insured financial institution headquartered in Charlotte,

North Carolina.

       25.     “Bank 2” was a federally insured financial institution headquartered in Atlanta,

Georgia.

                                              COUNT 1
                      Conspiracy to Commit Honest Services Wire Fraud
                                     (18 U.S.C. § 1349)

       26.     Paragraphs 1 through 25 of this Indictment are re-alleged and incorporated by

reference as though fully set forth herein.

       27.     From in or around 2010 through in or around 2019, in the Houston Division of the

Southern District of Texas, and elsewhere, the defendant,

                                      MATTHEW CLARK,

conspired and agreed with Webb, Tippett, Relative 1, Relative 2, Relative 3, and others known

and unknown to the Grand Jury to commit honest services wire fraud, that is, to knowingly and

with the intent to defraud, having devised and intending to devise a scheme and artifice to defraud

and to obtain money and property by means of materially false and fraudulent pretenses,

representations, and promises, and to defraud and deprive CLARK’s employer, Company B, of

its intangible right to CLARK’s honest and faithful services through bribery and kickbacks,

transmit and cause to be transmitted, by means of wire communications in interstate commerce,

writings, signs, signals, pictures, and sounds for the purpose of executing the scheme and artifice

to defraud, all in violation of Title 18, United States Code, Sections 1343 and 1346.




                                                 5
      Case 4:22-cr-00055 Document 1 Filed on 02/03/22 in TXSD Page 6 of 15




                       OBJECT AND PURPOSE OF THE CONSPIRACY

       28.        The object and purpose of the conspiracy was for CLARK, Webb, Tippett, Relative

1, Relative 2, Relative 3, and others known and unknown to the Grand Jury to engage in the

payment and receipt of bribes and kickbacks for the purpose of enriching themselves.

                        MANNER AND MEANS OF THE CONSPIRACY
       29.        The manner and means by which CLARK and his co-conspirators sought to

accomplish and did accomplish the purpose of the conspiracy included, but were not limited to,

the following:

             a.          CLARK falsely represented to Company B that he would adhere to

                         company policies which, among other things, prohibited the receipt of

                         bribes and kickbacks.

             b.          In his capacity as a trader at Company B, CLARK agreed to use Classic

                         Energy and Webb as his broker.

             c.          Company B paid commission fees to Classic Energy for each trade that

                         Classic Energy brokered for Company B (the “Fees”). In exchange for

                         CLARK sending Company B’s trades to Classic Energy, Webb and

                         CLARK agreed that Webb would kick back a portion of the Fees to

                         CLARK.

             d.          To conceal their agreement, Webb agreed to pay CLARK’s portion of the

                         Fees to third-party intermediaries, including Tippett, Relative 1, Relative 2,

                         and Relative 3, rather than to make payments directly to CLARK.

             e.          Relative 1 posed as an employee of Classic Energy principally in order to

                         funnel kickbacks from Webb to CLARK. Relative 1 also opened a bank



                                                   6
      Case 4:22-cr-00055 Document 1 Filed on 02/03/22 in TXSD Page 7 of 15




                          account at Bank 1 in the name of a fictious entity, GME, which Relative 1

                          used to funnel kickbacks from Webb to CLARK.

               f.         Relative 2 established bank account x0475 in the name of GME at Bank 2.

                          Relative 2 was the sole signatory on the account and used it to funnel

                          kickbacks from Webb to CLARK. To accomplish this, among other things,

                          Relative 2 pre-signed a book of blank checks that Relative 2 provided to

                          CLARK, who later provided the book of blank checks to Relative 3.

                          Relative 3 dispensed the checks to various recipients at CLARK’s

                          direction.

               g.         Tippett posed as an employee of MDW and Classic Energy, where he

                          functioned primarily to funnel kickbacks from Webb to CLARK. To

                          accomplish this, Tippett transferred and sent money to Relative 1, Relative

                          2, and Relative 3 for the benefit of CLARK.

               h.         CLARK caused the transmission of interstate wires to effect the transfer of

                          kickback payments from Webb to Tippett, Relative 1, Relative 2, and

                          Relative 3 for the benefit of CLARK.

       30.          Throughout the conspiracy, CLARK and his co-conspirators agreed to and did

engage in acts to conceal the scheme, including with respect to the nature and structure of their

financial transactions, methods of communication and documentation, and in their interactions

with others, including Company B, market participants, the Exchanges, the CFTC, and law

enforcement.

       All in violation of Title 18, United States Code, Section 1349.




                                                   7
Case 4:22-cr-00055 Document 1 Filed on 02/03/22 in TXSD Page 8 of 15
      Case 4:22-cr-00055 Document 1 Filed on 02/03/22 in TXSD Page 9 of 15




                                              COUNT 5

   Conspiracy to Engage in Prohibited Commodities Transactions and Insider Trading
                                   (18 U.S.C. § 371)

       33.     Paragraphs 1 through 25 of this Indictment are re-alleged and incorporated by

reference as though fully set forth herein.

       34.     From in or around 2013 and continuing through at least in or around December

2018, the exact dates being unknown, in the Houston Division of the Southern District of Texas

and elsewhere, the defendant,

                                      MATTHEW CLARK,

conspired and agreed with Webb, James, Tippett, Miller, Person 1, and others known and unknown

to the Grand Jury to commit certain offenses against the United States, namely,

       a.      to engage in prohibited commodities transactions, that is, to knowingly offer to

enter into, enter into, and confirm the execution of a transaction involving the purchase and sale

of a commodity for future delivery, namely, HH natural gas futures contracts, where the transaction

was a fictious sale and was used to cause a price to be reported, registered, and recorded that was

not a true and bona fide price, and where the transaction was used and may have been used to

(1) hedge a transaction in interstate commerce in the commodity and the product and byproduct of

the commodity; (2) determine the price basis of any such transaction in interstate commerce in the

commodity; and (3) deliver such commodity sold, shipped, and received in interstate commerce

for the execution of the transaction, all in violation of Title 7, United States Code, Sections 6c(a)

and 13(a)(2); and

       b.      to engage in insider trading, that is, to willfully, in connection with a contract for

future delivery on and subject to the rules of a registered entity, namely, HH natural gas futures

contracts on and subject to the rules of the Exchanges, directly and indirectly (1) use and employ,

                                                 9
     Case 4:22-cr-00055 Document 1 Filed on 02/03/22 in TXSD Page 10 of 15




and attempt to use and employ, a manipulative device, scheme, and artifice to defraud; (2) make,

and attempt to make, an untrue and misleading statement of a material fact and to omit to state a

material fact necessary in order to make the statements made not untrue and misleading; and

(3) engage, and attempt to engage, in an act, practice, and course of business, which operates and

would operate as a fraud and deceit upon any person, all in violation of Title 7, United States Code,

Sections 9(1), 13(a)(5), and Title 17, Code of Federal Regulations, Section 180.1.

                      OBJECT AND PURPOSE OF THE CONSPIRACY

       35.      The object and purpose of the conspiracy was for CLARK, and his co-conspirators,

including Webb, Tippett, James, Miller, Person 1, and others known and unknown to the Grand

Jury to enrich themselves by misappropriating and trading on material, nonpublic information

belonging to Company B, and by engaging in prohibited commodities transactions to create profits

for the personal benefit of the conspirators.

                      MANNER AND MEANS OF THE CONSPIRACY

       36.      The manner and means by which CLARK and his co-conspirators sought to

accomplish and did accomplish the object and purpose of the conspiracy included, but were not

limited to, the following:

             a. In breach of his duties to Company B, CLARK misappropriated Company B’s

                material, nonpublic information concerning its trading interest in natural gas futures

                contracts, including, but not limited to, the timing, quantity, price, and direction of

                its trading interest (whether to purchase or sell), and any limits to the transactional

                terms to which Company B would agree (collectively, the “Inside Information”).

             b. Further in breach of his duties to Company B, CLARK then disclosed, or directed

                Person 1 to disclose, Company B’s Inside Information to Webb, knowing and



                                                  10
     Case 4:22-cr-00055 Document 1 Filed on 02/03/22 in TXSD Page 11 of 15




                intending that Webb would pass along the Inside Information to, and broker a

                prearranged block trade with, one of the other conspirators, including Miller, who

                would serve as the counterparty and take the other side of the prearranged block

                trade. These non-competitive, prearranged block trades negated market risk and

                price competition, constituted fictitious sales, and caused prices to be reported,

                registered, and recorded on the Exchanges that were not true and bona fide prices.

             c. After obtaining Company B’s misappropriated Inside Information, Miller entered

                into offsetting futures transactions designed to benefit from his unlawful possession

                of Company B’s Inside Information and to generate profits to share among the co-

                conspirators, including CLARK. Periodically, Miller provided CLARK with his

                share of the unlawful trading profits.

             d. CLARK and his co-conspirators agreed to and did engage in acts to conceal the

                conspiracy, including with respect to the nature and structure of their unlawful

                trading and financial transactions, methods of communication and documentation,

                and in their interactions with others, including their respective employers, market

                participants, the Exchanges, the CFTC, and law enforcement.

                                          OVERT ACTS
       37.      In furtherance of and to effect the object and purpose of the conspiracy, CLARK

and his co-conspirators committed and caused to be committed at least one of the following overt

acts, among others:

             e. On or about February 23, 2017, CLARK misappropriated and provided material,

                nonpublic information about Company B’s intent to enter into a block trade to sell

                100 contracts of HH natural gas futures to Webb, intending that Webb provide that

                information to Miller, a prearranged counterparty for that block trade.

                                                 11
     Case 4:22-cr-00055 Document 1 Filed on 02/03/22 in TXSD Page 12 of 15




             f. On or about March 2, 2017, CLARK misappropriated and provided material,

                nonpublic information about Company B’s intent to enter into a block trade to buy

                125 contracts of HH natural gas futures, intending that Webb provide that

                information to Miller, a prearranged counterparty for that block trade.

             g. On or about March 8, 2017, CLARK misappropriated and provided material

                nonpublic information about Company B’s intent to enter into a block trade to sell

                100 contracts of HH natural gas futures to Webb, intending that Webb provide that

                information to Miller, a prearranged counterparty for that block trade.

             h. On or about March 30, 2017, CLARK misappropriated and provided material

                nonpublic information about Company B’s intent to enter into a block trade to buy

                100 contracts of HH natural gas futures to Webb, intending that Webb provide that

                information to Miller, a prearranged counterparty for that block trade.

       All in violation of Title 18, United States Code, Section 371.
                                    COUNTS 6 THROUGH 7
                             Prohibited Commodities Transactions
                                (7 U.S.C. §§ 6c(a)(2), 13(a)(2))

       38.      Paragraphs 1 through 25 and 35 through 37 of this Indictment are re-alleged and

incorporated by reference as though fully set forth herein.

       39.      On or about the dates listed in the table below, each constituting a separate count

of the Indictment, in the Houston Division of the Southern District of Texas, and elsewhere, the

defendant,

                                      MATTHEW CLARK,

knowingly offered to enter into, entered into, and confirmed the execution of a transaction

involving the purchase and sale of a commodity for future delivery, namely, HH natural gas futures


                                                 12
Case 4:22-cr-00055 Document 1 Filed on 02/03/22 in TXSD Page 13 of 15
Case 4:22-cr-00055 Document 1 Filed on 02/03/22 in TXSD Page 14 of 15
Case 4:22-cr-00055 Document 1 Filed on 02/03/22 in TXSD Page 15 of 15
